             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                          1:07-CR-16

UNITED STATES OF AMERICA,              )
                  Plaintiff,           )
                                       )
 vs.                                   )                 ORDER
                                       )
 MELISSA BEDFORD BLALOCK,              )
                        Defendant,     )
 and                                   )
                                       )
 MH HOSPITAL MANAGER, LLC,             )
                        Garnishee.     )
_______________________________________)

      This matter is before the Court on the Government’s Second Motion for

Order of Continuing Garnishment. Doc. 41.

      On June 28, 2004, the United States District Court for the Western

District of Louisiana entered a judgment against Defendant following her

convictions for conspiracy and embezzling and failing to refund federal funds.

As a term of the Judgment, Defendant was ordered to pay an assessment of

$1,500.00 and restitution of $54,293.00 to the United States Department of

Education.    An Amended Judgment was entered on July 21, 2004 and

jurisdiction was later transferred to this district. Doc. 1. The balance due as

of July 14, 2021 is $19,791.14. Doc. 41 at 1.




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      On July 15, 2021, the Court entered a Writ of Continuing Garnishment

(the “Writ”).   Doc. 30. The record indicates that the Writ and associated

materials were sent to and received by Defendant and the Garnishee.

      On August 16, 2021, the Garnishee filed its Answer, which indicates that

the Garnishee has in its custody, control, or possession, property or funds

owned by or owing to Defendant, in particular, employment earnings. Doc. 33.

      Defendant received a copy of the Garnishee’s Answer on October 22,

2021, and may have received a copy previously from the Garnishee. Doc. 41,

Exhibit B.

      Pursuant to federal debt collection procedures, a judgment debtor or the

United States may file a written objection to the answer of a garnishee and

request a hearing. Such filings are due “within 20 days after receipt of the

answer.” 28 U.S.C. § 3205(c)(5).

      Defendant has not requested a hearing with regard to the potential

garnishment, and the statutory time period to do so has expired. 28 U.S.C. §§

3205(c)(5), 3205(c)(7).

      IT IS THEREFORE ORDERED THAT:

             1. The Government’s Second Motion for Order of Continuing

                Garnishment (Doc. 41) is GRANTED and an Order of

                Continuing Garnishment is ENTERED in the amount of

                $19,791.14 as computed through July 14, 2021.



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      2. The Garnishee is directed to pay the United States the

         maximum allowable garnishment from Defendant’s aggregate

         disposable earnings for any workweek, pursuant to 15 U.S.C. §

         1673, that being the lesser of (1) 25 percent of Defendant’s

         disposable weekly earnings, or (2) the amount by which

         Defendant’s disposable weekly earnings exceed 30 times the

         federal minimum wage.

      3. The payments shall continue until the debt to the United States

         is paid in full, until the Garnishee no longer has custody,

         possession, or control of any property belonging to Defendant,

         or until further Order of this Court, whichever first occurs.

      4. The Garnishee is DIRECTED to advise the Government if

         Defendant’s employment is terminated at any time by either

         the Garnishee or Defendant.


                           Signed: December 2, 2021




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